Case 1:20-cr-O0008-MKB Document 105-10 Filed 02/13/23 Page 1 of 2 PagelD #: 654

From: Steven Nerayoff
To:
cc: Steven Nerayoff

Sent: 11/1/2017 9:20:49 PM
Subject: Re: Updated deal terms/ let’s move forward!

Just to be clear. 30,000 eth at the conclusion of the token sale (not all to us so we will give you
addresses to send to). We do not owe you any eth as we are agreed we are even on pre-sales upon
sending you the 25k plus eth. If we sell out the token sale (120k eth total including the pre-sale) we will
receive an additional 6,000 eth bonus. Additionally, we will receive 1.4 billion tokens. 500 million will be
released to us immediately and 900 million will be released in two years or if circumstances allow then
earlier. These tokens will be in a separate address given to us.

From:
Date: Tuesday, October 31, 2017 at 5:51 PM
To: "Steven Neravoff. Esq. LL.M."
Ce:
Subject: Re: Updated deal terms/ let’s move forward!

Hi Steven,

First, I want to start off by saying thank you for everything you have done for us. Thank you.
BE yr and the team cannot be more grateful for everything you have done to help us to become the ultimate
ockchain project, together.

With the enormous value you've helped us bring to the project, we think your proposal Is fair in terms of ETH (30,000 ETH +
the additional 6,000 ETH bonus for crowdsale success to 100%) and the number of tokens (1.3 billion tokens) that will benefit
Alchemist as well as iiteam to build this into a billion dollar project. The total value of this package today is
$25,100,000 USD.

The requirement since the ETH has been significantly increased to meet your requests, is that the 1.3Billion Alchemist tokens
locked up for 2 years. We are committing to the public (who is ultimately enabling this to be possible) that these tokens will
be used in the future and will not be circulating at all. If the tokens start trading anytime before a significant period of time (2
years), the project is at significant risk, and will receive even worse public backlash than we already are experiencing today.
With your support, in 2 years we will turn this into a 100+x project. I know that you know us and that we will work our ass off
to make sure this happens, together. We took you VERY seriously when you said you were going to be with us for the long
term.

Again, we thank you and m- your partnership and stewardship of this great opportunity a We look forward to
working together to make this project as big as possible.

Thank you again, Steven!

On Mon, Oct 30, 2017 at 8:53 AM, Steven Nevo TT «0:0

We have given this a lot of thought and didn’t change our terms other than what I told you was important 7
the extra tokens and it was in the same range as I anticipated. This should be a simple agreement and let’s kick some
ass as partners.

30,000 ether (proportionate to 36 million including what we didn’t give you out of the approx 55,000 eth collected).
This is what we you proposed yesterday. Important.

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I suggest 1f sell out we get a bonus of 6k ether. Flexible.

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1.3 billion tokens (fixed). Like we spoke about last night that it would take an additional 500 million tokens for fl
to feel this Is fair. Important.

I suggest extra equity. Flexible.

And we are done and we are back focusing on the sale! This is a compromise that we should all be able to move
forward.

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nd I will continue to work with you on biz dev, strategy, business positioning and help you scale the business
and you will have a New York office. We will bring on advisors as needed. We have only scratched the surface. This
is really the biggest compromise is making be of our commitments. We do not have time to_waste bc the guys
have to be contacted etc. [I’m looking forward to building a great company together with you

. —
We are having an event in Israel a few days after the token sale begins where you can share the stage with us and if
he is available the . We are moving ahead with plans as if we have an agreement including the other
Thx and let’s both make lemons into lemonade,
Steven

Sent from my iPhone. Apologies for misunderstandings or typos due to the spell checker.

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